                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA


UNITED STATES OF AMERICA                             )
                                                     )       Case No. 1:12-cr-25
v.                                                   )
                                                     )       COLLIER / LEE
ATANAS G. GEORGIEV                                   )


                             REPORT AND RECOMMENDATION


        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on May 30, 2012.

At the hearing, defendant moved to withdraw his not guilty plea to Counts One, Two, Three and

Twenty-Two of the thirty-nine-count Indictment and entered a plea of guilty to Counts One, Two,

Three and Twenty-Two of the Indictment, in exchange for the undertakings made by the government

in the written plea agreement. On the basis of the record made at the hearing, I find the defendant

is fully capable and competent to enter an informed plea; the plea is made knowingly and with full

understanding of each of the rights waived by defendant; the plea is made voluntarily and free from

any force, threats, or promises, apart from the promises in the plea agreement; the defendant

understands the nature of the charge and penalties provided by law; and the plea has a sufficient

basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Counts

One, Two, Three and Twenty-Two of the Indictment be granted, his plea of guilty to Counts One,

Two, Three and Twenty-Two of the Indictment be accepted, the Court adjudicate defendant guilty

of the charges set forth in Counts One, Two, Three and Twenty-Two of the Indictment, and a

decision on whether to accept the plea agreement be deferred until sentencing. The parties agreed

Defendant should remain on bond pending sentencing. Therefore, I further RECOMMEND

Defendant remain on bond until sentencing in this matter. Acceptance of the plea, adjudication of

Case 1:12-cr-00025-TRM-SKL          Document 15          Filed 06/01/12    Page 1 of 2     PageID
                                          #: 43
guilt, acceptance of the plea agreement, and imposition of sentence are specifically reserved for the

district judge.


                                               s/fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE



                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
of guilty in this matter. See 28 U.S.C. §636(b).




Case 1:12-cr-00025-TRM-SKL            Document 15        Filed 06/01/12       Page 2 of 2      PageID
                                            #: 44
